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                           MICHAEL A. INNES
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                                                                                  **MEMBER NY BAR
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                                                       September 11, 2024

      VIA ECF

      Hon. Elizabeth A. Pascal, U.S.M.J.
      Mitchell H. Cohen Building
      & U.S. Courthouse
      4th & Cooper Streets
      Camden, New Jersey 08101

                  Re:    In re Samsung Customer Data Security Breach Litigation,
                         Civ. Action No. 1:23-md-3055 (CPO) (EAP)

      Dear Judge Pascal:

              I write jointly with counsel for Defendant Samsung Electronics America, Inc. to request a
      one-week extension of time to file a joint motion to seal the briefing associated with the Motion to
      Dismiss and Motion to Strike Class Allegations filed by Defendant (See ECF No. 161 and 163).
      The parties are working cooperatively to resolve and finalize the proposed redactions and motion
      to seal papers. The parties request an extension from the current due date of September 16, 2024
      until September 23, 2024.

             If this request meets with the Court’s approval, we respectfully ask that Your Honor enter
      “So Ordered” and return this letter via CM/ECF. We thank the Court for consideration of this
      request.

                                                                       Respectfully submitted,

                                                                       s/ James E. Cecchi
                                                                       James E. Cecchi
                                                                       Interim Lead Counsel for Plaintiffs

                                                                       s/ Maureen T. Coghlan
                                                                       Maureen T. Coghlan
                                                                       Counsel for Defendant Samsung Electronics
                                                                       America, Inc.
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     cc:     All Counsel of Record (via ECF)
             Hon. Christine P. O’Hearn, U.S.D.J. (via ECF)
             Hon. Freda L. Wolfson (ret.) (via ECF)


     It is SO ORDERED as of this ___ day of September, 2024


     ______________________________________
     HON. ELIZABETH A. PASCAL, U.S.M.J.




C ARELLA , B YRNE , C ECCHI , O LSTEIN , B RODY & A GNELLO
                 A PROFESSIONAL CORPORATION
